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                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION

ANDREW HAHN and HEATHER HAHN,                               )
                                                            )        Case No. 16-cv-6908
                                      Plaintiffs,           )
                                                            )        Judge Robert M. Dow
                   v.                                       )
                                                            )
                                                                     Magistrate Judge Sheila Finnegan
ANSELMO LINDBERG OLIVER, LLC                                )
and WELLS FARGO BANK, N.A.,                                 )
                                                            )
                                      Defendants.           )

           ANSELMO LINDBERG OLIVER, LLC'S MEMORANDUM OF LAW IN
                     SUPPORT OF ITS MOTION TO DISMISS

         NOW COMES Defendant, ANSELMO LINDBERG OLIVER, LLC ("ALO"), by and

through its attorneys, David M. Schultz, Justin M. Penn and Jonathon D. Drews of Hinshaw &

Culbertson LLP and pursuant to Federal Rule of Civil Procedure 12(b)(1) and 12(b)(6), respectfully

requests that this Court dismiss Count I of Plaintiffs' Complaint with prejudice and in support

thereof, states as follows:

                              Underlying Facts and Plaintiff's Legal Theories

         The facts most germane to ALO's motion to dismiss are conveniendy left out of Plaintiffs'

Complaint. Mrs. Heather Hahn f/k/ a Heather Johnson ("Mrs. Hahn") executed a mortgage for the

"debt" in favor of North American Mortgage Company secured by the "subject property".

Plaintiffs' Complaint, '1!13. Defendant Wells Fargo, through its attorneys ALO, filed a foreclosure

complaint against Mrs. Hahn and listed Andrew Hahn ("Mr. Hahn") as a co-defendant due to his

residency at the subject property. Exhibit A, Foreclosure Complaint. 1 ALO sought to collect the

outstanding debt solely from Mrs. Hahn. See Ex. A, page 2, 'I! M. Thereafter, Mrs. Hahn filed for


1   The exhibits attached to this Motion are public filings and public documents from the underlying court record. They
    are appropriate for this Court to consider on a motion to dismiss. A court may take judicial notice of the contents
    of court records so long as the facts are not capable of reasonable dispute. General Electric Capital Cotp. v. Lease
    Resolution Cotp., 128 F.3d 1074, 1081-82 (7th Cir. 1997); see Fletcher v. Menard Correctional Center, 623 F.3d 1171, 1173
    (7th Cir. 201 0) (court takes judicial notice of prior cases filed by plaintiff)


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Chapter 13 Bankruptcy protection on July 20, 2012. See In re: Heather D. Hahn, 12-28760 (Bankr.

N.D. Ill., Jul. 20, 2012), Docket Entry ("DE"), 1. ALO filed a motion and obtained leave from the

bankruptcy court to proceed with the foreclosure of the subject property. See Group Exhibit B, In

re: Heather D. Hahn, 12-28760, Motion for Relief from Stay, DE 58; Order Granting Relief from

Stay, DE 60.     Mrs. Hahn's bankruptcy remained pending until October 23, 2015 when the

bankruptcy court dismissed her bankruptcy for failure to make payments. Exhibit C, In re: Heather

D. Hahn, 12-28760, Order Dismissing Case for Failure to Make Payments, DE 62. On September 2,

2015, while Mrs. Hahn's bankruptcy was still pending, she attempted to quitclaim her interest in the

property to herself and Mr. Hahn. Compl.    ~15.   On September 9, 2015, Mr. Hahn filed for Chapter

13 bankruptcy protection and listed ALO and Wells Fargo as creditors. Compl. ~~ 16-17.

        Separate and apart from the bankruptcy case, the foreclosure court entered judgment against

Mrs. Hahn and Mr. Hahn on February 10, 2016. See Exhibit D, Judgment of Foreclosure. The

Judgment of Foreclosure includes several relevant evidentiary findings which are fatal to Plaintiffs'

instant claims against ALO.     Specifically, the foreclosure court found that Mrs. Hahn is the

individual personally liable for debt. See Ex. D. p. 3,   ~14.   The foreclosure court also found that

"[a]ll lien or mortgage claimants defaulted are found to have no interest in the real estate

foreclosed." See Ex. D.p. 5,   ~B.     Mr. Hahn was defaulted on February 10, 2016, and therefore

has been found to have no interest in the foreclosed property. See Exhibit E, Order of Default.

         Plaintiff brings one count against ALO alleging purported violations of the Fair Debt

Collection Practices Act ("FDCPA"), 15 U.S.C. §1692, et seq.          In particular, plaintiff makes the

following specific claims:

            •   ALO violated Section 1692e(2) by falsely representing the underlying debt was not
                legally collectible in state court at the time Defendant ALO appeared multiple times
                in the foreclosure suit, filed motions and obtained orders regarding the subject
                property;



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              •    ALO violated Section 1692e(10) when it falsely represented that the subject debt was
                   collectible at the time of its actions before the state court; and
              •    ALO violated Section 1692fby attempting to collect a debt that was not legally
                   collectible in state court as a matter of law.

Compl., ~~ 36-40. Plaintiffs' claims all fail as a matter of law.

                       Rule 12(b)(6) Standard and Brief Summary of Argument

        The Rule 12(b)(6) standard requires plaintiff to do more than simply allege that ALO was

attempting to collect a debt in violation of the FDCPA. Such assertions are mere conclusory legal

statements.       The Supreme Court has a two-step approach in deciding whether a pleading is

sufficient:

                   In keeping with these principles a court considering a motion to dismiss can
                   choose to begin by identifying pleadings that, because they are no more than
                   conclusions, are not entitled to the assumption of truth. While legal
                   conclusions can provide the framework of a complaint, they must be
                   supported by factual allegations. When there are well-pleaded factual
                   allegations, a court should assume their veracity and then determine whether
                   they plausibly give rise to an entitlement to relief.

Ashcroft v, Iqbal, 556 U.S. 662, 129 S. Ct. 1937, 1950 (2009). Taken as a whole the complaint must

establish a non-negligible probability that the claim is valid. Id. at 832. The court should decide

whether the complaint has enough substance to warrant putting the defendant through discovery.

Id.

        Threadbare recitals of the elements of a cause of action, supported by mere conclusory

statements, do not suffice. Ashcroft v. Iqbal, 556 U.S. 662, 129 S.Ct. 1937, 1949 (2009) Thus, "in

considering a plaintiffs factual allegations, courts should not accept as adequate abstract recitations

of the elements of a cause of action, supported by mere conclusory legal statements." Brooks v. Ross,

574 F.3d 578, 581 (7th Cir. 2009). Rule 12(b)(6) requires plaintiffs to provide reasonable factual

support in the complaint demonstrating all the elements of a FDCPA violation.




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          First, to the extent Plaintiffs seek to challenge the amount or status of the underlying debt,

they are estopped from so doing. Plaintiffs' complaint ignores the fact that the state court has

already entered a judgment in the underlying foreclosure, and Plaintiffs are barred from now

challenging or seeking review of the status of the underlying debt. Second, with respect to Plaintiffs'

claims under Section 1692e and 1692f, there are no allegations as to how ALO was actually

attempting to collect the underlying debt from Mr. Hahn. The conclusory allegation that ALO was

attempting to collect a debt from Plaintiffs is false and controverted by the documents relevant to

the claims. The foreclosure complaint and judgment in the foreclosure case identify that the debt

was owed by Mrs. Hahn. See Ex A, page 2, ~ M; Ex. D, page. Mr. Hahn cannot state a claim for a

violation of the FDCPA because ALO never sought to collect anything from him.

I.        The claims under Sections 1692e and 1692£ in Count I are estopped and barred by the
          Rooker-Feldman doctrine and the doctrine of res judicata.

          Plaintiffs allege that ALO sought to collect amounts that were not legally collectible in state

court, and thus violated Sections 1692e(2), 1692e(10) and 1692f (Count I). Plaintiffs ignore that they

are subject to a judgment in the underlying mortgage foreclosure, and the Rooker-Feidman doctrine
                                                           I



and doctrine of res judicata therefore deprive this Court of jurisdiction. Plaintiffs claim that the

amount sought is not owed.               This assertion is so inextricably intertwined with the foreclosure

judgment that he is estopped from pursuing his claims.

          The Rooker-Feldman doctrine "essentially precludes lower federal court jurisdiction2 over

claims seeking review of state court judgments." Remer v. Burlington Area School Dist., 205 F.3d 990,

996 (7th Cir. 2000). Specifically, it "bars federal jurisdiction when the federal plaintiff alleges that

her injury was caused by a state court judgment." Id.; See also Wilry v. Urban Partnership Bank, 2016

WL 4011235, *2 (N.D. Ill.         Jul.   27, 2016)("lower federal courts such as this one do not have the


2    The portion of the motion concerning the Rooker-Feldman doctrine is brought pursuant to Rule 12(b)(1). Although
     jurisdiction is a primary consideration for the Court, ALO treats the claims in the order that they are alleged.

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authority to hear cases 'complaining of injuries caused by state-court judgments rendered before the

district court proceedings commenced and inviting district court review and rejection of those

judgments."')(citations omitted). The effect of this doctrine is to make it clear that "no matter how

erroneous or unconstitutional the state court judgment may be, the Supreme Court of the United

States is the only federal court that could have jurisdiction to review a state court judgment." Id

Remer, 205 F.3d at 996. The United States Supreme Court has clarified and reinforced that Rooker-

Feldman applies to "cases brought by state court losers complaining of injuries caused by state-court

judgments rendered before the district court proceedings commenced [that now invite] district court

review and rejection of those judgments." Exxon Mobil Cotp v. Saudi Basic Industries Corp., 544 U.S.

280, 284 (2005). Federal district courts are not empowered to exercise appellate jurisdiction over

state court judgments. Id.

        Where the claims are closely related to the state court judgment, although not identical,

Rooker-Feldman still prohibits review by federal district courts:

                Claims that directly seek to set aside a state court judgment are de facto appeals
                and are barred without additional inquiry. However, federal claims presented
                to the district court that were not raised in state court or that do not on their
                face require review of a state court's decision may still be subject to Rooker-
                Feldman if those claims are "inextricably intertwined" with a state court
                judgment.

Tqylor v. Federal Nat. Mortg. Ass'n., 374 F.3d 529, 532-33 (7th Cir. 2004).

        The allegations in Counts I demonstrate that this case is a de facto appeal or is at the very least

inextricably intertwined with the state court judgment. The Section 1692e and 1692f claims rely

upon assertions that the underlying debt was not collectible because it was somehow discharged in

an underlying bankruptcy. Plaintiffs cannot avoid the impact of Rooker-Feldman as the foreclosure

litigation is the basis for the claim. See Franklin v. Arbor Station, llC, 549 Fed. App'x 831, 833 (11th

Cir. 2013) (affirming district court's dismiss of plaintiffs FDCPA claims on Rooker-Feldman grounds

because ruling in plaintiffs favor on any of the claims would necessitate a finding that the state

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court's decision was erroneous).       Moreover, the injuries claimed by Plaintiffs are inextricably

intertwined with the judgment. See Harold v. Steel, 773 F.3d 884, 886 (7th Cit. 2014) (afftrming

dismissal on Rooker-Feldman grounds of an FDCPA claim and rejecting plaintiffs argument that the

injury was caused by false statements, not the proceeding, reasoning that "[n]o injury occurred until

the state judge ruled against [plaintiff]" and therefore the requested relief was inextricably

intertwined with the state-court action).

        The Plaintiffs' instant position is also barred by res judicata. Hqyes v. City   if Chicago, 2012 WL
661676, *2 (7th Cit. 2012). The doctrine of res judicata prohibits litigants from re-litigating claims

that were or could have been litigated during an earlier proceeding. Id. Congress has specifically

required all federal courts to give preclusive effect to state-court judgments whenever the courts of

the State from which the judgments emerged would do so. Id.

        Plaintiffs certainly could have litigated whether the amount was due and owing in the state

court foreclosure, but they decided not to. There is no doubt Plaintiffs knew about the case, and

there is no doubt they both failed to appear. Their instant position - that the amount in the

judgment is not owed- is completely inconsistent with the entry of the judgment. See Ex. D.

II.     The claims under Sections 1692e and 1692£ in Count I must be dismissed because
        ALO was not attempting to collect a debt from Mr. Hahn.

        If there was no attempt to collect a debt from Mr. Hahn, and thus he cannot state a claim

for a violation of the FDCPA See Brown v. Budget Rent-A-Car Sys., Inc., 119 F.3d 922, 924 (11th

Cir.1997); Mabe v. G. C. Servs. Ltd. P'ship, 32 F.3d 86, 87-88 (4th Cir.1994); Zimmerman v. HBO Affiliate

Grp., 834 F.2d 1163, 1167 (3d Cir.1987); Isaacson v. Saba Comm. Servs. Corp., 636 F.Supp.2d 722, 724

(N.D.Ill.2009); Hill v. Mutual Hosp. Serv., Inc., 454 F.Supp.2d 779, 782 (S.D.Ind.2005) ("[T]he

threshold requirement for enforcing the FDCPA is that the alleged prohibited practices have been

used in an attempt to collect a debt."). As explained above, ALO only sought to collect from Mrs.

Hahn. Without any attempt to collect a debt from Mr. Hahn, he cannot state a claim for a violation

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of the FDCPA.

         ALO listed Mr. Hahn as a defendant as he potentially could have had some interest in the

property and because he was a resident of the subject property. Any foreclosure activities with

respect to Mr. Hahn were merely with respect to his potential equitable interest and were not

attempts to collect any amount from him. Numerous federal district courts and at least one circuit

court have determined that such foreclosure activities do not constitute debt collection under the

FDCPA. Bqyd v. ].E. Robert Co., 2013 WL 5436969, at *9 (E.D.N.Y. Sept. 27, 2013), qjfd sub nom.

Bqyd v. ].E. Robert Co., Inc., 765 F.3d 123 (2d Cir. 2014) (collecting cases); See also Rosado v. Tqylor, 324

F.Supp.2d 917, 924 (N.D.Ind.2004). ALO's listing of Mr. Hahn as a defendant in the foreclosure

case does not constitute an attempt to collect a debt from him.

III.     ALO adopts those arguments in the codefendants' motions to dismiss that apply
         with equal weight to the instant defenses.

         In addition, ALO respectfully request to join in the multiple arguments made in its

codefendant's motion to dismiss that apply with equal force to ALO. In particular, Wells Fargo

Bank, N.A. has argued that the underlying bankruptcy did not extinguish the underlying loan or

alternatively that the case be transferred to the bankruptcy court. ALO respectfully requests this

Court extend any rulings on codefendant's motion that apply in equal force to the claims against

ALO.



         WHEREFORE, Defendant, ANSELMO LINDBERG OLIVER, LLC, respectfully requests

this court dismiss Count I of Plaintiffs' Complaint in its entirety, with prejudice, and for such other

relief as this Court deems fair and just.




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                                             Respectfully submitted,

                                             HINSHAW & CULBERTSON LLP


                                          /s/ [onathon D. Drews
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                                CERTIFICATE OF SERVICE

         I hereby certify that on July 28, 2016, I electronically filed the forgoing ANSELMO
LINDBERG OLIVER, LLC'S Memorandum of Law in Support of Motion to Dismiss with
the Clerk of the U.S. District Court, using the CM/ECF system reflecting service to be served upon
all parties of record

                                                    HINSHAW & CULBERTSON LLP

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